        Case 1:22-cv-01735-SCJ Document 1-1 Filed 05/02/22 Page 1 of 27

                                                                                                   Service of Process
                                                                                                   Transmittal
                                                                                                   04/01/2022
                                                                                                   CT Log Number 541330261
TO:         PEGGY RUBIN
            X.L. America, Inc.
            505 EAGLEVIEW BLVD STE 100
            EXTON, PA 19341-1199

RE:         Process Served in Georgia

FOR:        Greenwich Insurance Company (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                 MARIO ALCON, GEREMIAS ALCON, SECILIA ALCON, MAURA ALCON, MARLENY ALCON &
                                                 HUGO ALCON, vs. ASPLUNDH TREE EXPERT, LLC
DOCUMENT(S) SERVED:                              Attachment(s), Summons, Complaint
COURT/AGENCY:                                    Gwinnett County State Court, GA
                                                 Case # 22C01817S5
NATURE OF ACTION:                                Insurance Litigation
ON WHOM PROCESS WAS SERVED:                      C T Corporation System, Lawrenceville, GA
DATE AND HOUR OF SERVICE:                        By Process Server on 04/01/2022 at 11:19
JURISDICTION SERVED :                            Georgia
APPEARANCE OR ANSWER DUE:                        Within 30 days after service, exclusive of the day of service
ATTORNEY(S) / SENDER(S):                         Chirag Patel
                                                 Cuadra & Patel, LLC
                                                 296 S. Culver Street
                                                 Lawrenceville, GA 30046
                                                 404-373-6336
ACTION ITEMS:                                    CT has retained the current log, Retain Date: 04/01/2022, Expected Purge Date:
                                                 04/06/2022

                                                 Image SOP

                                                 Email Notification, PEGGY RUBIN peggy.rubin@axaxl.com

                                                 Email Notification, Kimberly Rigoroso kimberly.rigoroso@axaxl.com

REGISTERED AGENT ADDRESS:                        Linda Banks
                                                 289 S. Culver St.
                                                 Lawrenceville, GA 30046
                                                 877-564-7529
                                                 MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other




                                                                                                   Page 1 of 2 / JD
           Case 1:22-cv-01735-SCJ Document 1-1 Filed 05/02/22 Page 2 of 27

                                                                                                    Service of Process
                                                                                                    Transmittal
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FOR:        Greenwich Insurance Company (Domestic State: DE)




advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 2 of 2 / JD
            ,   • _     Case 1:22-cv-01735-SCJ Document 1-1 Filed 05/02/22 Page 3 of 27
                  .1.0E0SERVICE
     SHERIFF S ENTR
                                                                                                 Superior Court 0             Magistrate Court 0
     Civil Action No. 22-C-01817-S5                                                              State Court     ar           Probate Court         0
                                                                                                 Juvenile Court 0

     Date Filed MARCH 29TH, 2022                                                                 Georgia, GWINNETT                   COUNTY

                                                                                                 MARIO ALCON, GEREMIAS ALCON,SECILIA ALCON

     Attorney's Address
                                                                                                 MAR UA ALCON, MAR LENY ALCON, HUGO ALCON
       CUADRA & PATEL, LLC                                                                                                              Plaintiff

       296 S CUVLER STREET                                                                                VS.

       LAWRENCEVILLE, GA 30046
                                                                                                 ASPLUNDH TREE EXPERT, LLC, SEAN DOUGLAS BALLMERRE

     Name and Address ofParty to Served
                                                                                                 AND GREENWICH INSURANCE COMPANY
     GREENWICH INSURANCE CO. C/O CT CORP SYS
                                                                                                                                        Defendant

     289 S CULVER STREET


     LAWRENCEVILLE, GA 30046
                                                                                                                                        Garnishee
                                                               SHERIFF'S ENTRY OF SERVICE

     PERSONAL
     I have this day served the defendant                                                                                      personally with a copy
O    of the within action and summons.

     NOTORIOUS
     I have this day served the defendant                                                                                                by leaving a
     copy of the action and summons at his most notorious place abode in this County.

O    Delivered same into hands of                                                                                               described as follows:
     age, about               years; weight                    pounds; height              feet and              inches, domiciled at the residence of
     defendant.

     CORPORATION
     Served the defendant                    r                        •,                                                                a corporation

'0   by leaving a copy ofthe within action and summons with
     In charge of the office and place of doing business of said Corporation in this County.

     TACK & MALL
     I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy ofthe same to the door of the premises
     designated in said affidavit and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class in an
O    envelope properly addressed to the defendant(s) at the address shown in said summons, with adequate postage affixed thereon containing notice
     to the defendant(s) to answer said summons at the place stated in the summons.

     NON EST
     Diligent search made and defendant
O    not to be found in the jurisdiction ofthis Court.


     This            day of                              ,20     .


            DEPUTY
                                                                     CLERK'S COPY
        Case 1:22-cv-01735-SCJ Document 1-1 Filed 05/02/22 Page 4 of 27                       E-FILED IN OFFICE - RJ
                                                                                            CLERK OF STATE COURT
                                                                                        GWINNETT COUNTY, GEORGIA
                                                                                                 22-C-01817-S5
                                                                                              3/29/2022 4:43 PM
                                                                                            TIANA P. GARNER,CLERK

                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA

 MARIO ALCON,GEREMIAS ALCON,SECILIA
     ALCON,MAURA ALCON,MARLENY
     ALCON & HUGO ALCON,
          Plaintiffs,                                                CIVIL ACTION
                                                                     FILE NO.
                V.
    •
                                                                             22-C-01817-S5
 ASPLUNDH TREE EXPERT,LLC,
      AND
 SEAN DOUGLAS BALLMERRE,
      AND      ,
 GREENWICH INSURANCE COMPANY,
      Defendants.


                                           SUMMONS
 TO THE ABOVE NAMED Defendant:

         You are summoned and required to file with the Clerk of said court and serve upon the
 Plaintiff's attorney, whose name and address is:

                                    CUADRA & PATEL,LLC
                           Chirag Patel, Esq. & Norman H. Cuadra Esq.
                                       296 S. Culver Street
                                    Lawrenceville, GA 30046

 An answer to the complaint, answer to the interrogatories, and answer to the production of
 documents which is herewith served upon you, within 30 days after service of this summons
 upon you, exclusive of the day of service. If you fail to do so,judgment by default will be taken
 against you for the relief demanded in the complaint.
                                                      TIANA P. GARNER
 This       Day of               , 2022.
                                                       Clerk of the State Court
30th day of March, 2022

                                                                z4f      /
                                                             .gc4i
                                                      By
                                                             Deitity Clerk
         Case 1:22-cv-01735-SCJ Document 1-1 Filed 05/02/22 Page 5 of 27                     E-FILED IN OFFICE - RJ
                                                                                           CLERK OF STATE COURT
                                                                                       GWINNETT COUNTY, GEORGIA
                                                                                                22-C-01817-S5
                                                                                             3/29/2022 4:43 PM
                                                                                           TIANA P. GARNER,CLERK

                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA

MARIO ALCON,GEREMIAS ALCON,SECILIA
    ALCON,MAURA ALCON,MARLENY
    ALCON & HUGO ALCON,
         Plaintiffs,                                                   CIVIL ACTION
                                                                       FILE NO.
                V.

                                                                         22-C-01817-S5
ASPLUNDH TREE EXPERT,LLC,
     AND
SEAN DOUGLAS BALLMERRE,
     AND
GREENWICH INSURANCE COMPANY,
     Defendants.


                                COMPLAINT FOR DAMAGES


         COMES NOW Plaintiffs, MARIO, GEREMIAS, SECILIA, MAURA, MARLENY
AND HUGO ALCON,by and through undersigned ASPLUNDH TREE EXPERT,LLC,SEAN
DOUGLAS BALLMERRE & GREENWICH INSURANCE COMPANY,as follows:
                                PARTIES AND JURISDICTION
                                                 1.
         Plaintiffs MARIO, GEREMIAS, SECILIA, MAURA, MARLENY AND HUGO
ALCON are and all times material to this action, residents of the State of Georgia, and are subject
to the jurisdiction and venue of this court.
                                                2.
         Defendant Asplundh Tree Expert, LLC(hereinafter referred to as "Asplundh"),is a foreign
corporation existing under the laws of Pennsylvania, with its principal place of business in
Pennsylvania and may be served tlyough its registered agent, CT Corporation System, 289 S.
Culver Street, Lawrenceville, Georgia 30046, and is subject to the jurisdiction and venue of this
court.
                                                3.
         Defendant Sean Douglas Ballmerre (hereinafter referred to as "Ballmerre"), is a resident
ofthe State of Michigan, specifically 803 Bennett Street, Albion, Michigan 49224. Defendant may

                                  Complaint for Damages, Page 1 of 8
       Case 1:22-cv-01735-SCJ Document 1-1 Filed 05/02/22 Page 6 of 27




be served through the Secretary of State pursuant to 0.C.G.A. § 40-12-1 et seq. Georgia Non-
Resident Motorist Statute.
                                                  4.
        Defendant Greenwich Insurance Company is a foreign corporation existing under the laws
of Delaware, with its principal place of business in Connecticut and may be served through its
registered agent, CT Corporation System, 289 S. Culver Street, Lawrenceville, Georgia 30046,
and is subject to the jurisdiction and venue of this court.
                                                  5.
        Defendant Greenwich Insurance Company was transacting business in the State of Georgia
and in Gwinnett County, Georgia on the date of the subject incident and is subject to the venue of
this Court pursuant to 0.C.G.A. § 33-4-1.
                                                 6.
        Jurisdiction and venue are proper in this court.
                                           BACKGROUND.
                                                 7.
       On or about August 3rd, 2020, Plaintiffs were in a 1999 Ford travelling north on Glade
Road approaching the intersection of Tanyard Creek Road in Bartow County, Georgia.
                                                 8.
        On or about August 3 ,2020,Defendant Ballmerre was operating a 2013 Frightliner Truck
as an employee of Defendant Asplundh directly behind Plaintiffs, in Bartow County, Georgia.
                                                 9.
       On or about August 3rd,2020,Defendant Ballmerre was employed by Defendant Asplundh.
                                                 10.
       On or about August 3rd, 2020, Ballmerre, Asplundh and the Freightliner were insured by
Greenwich Insurance Company for their negligent acts.
                                                 1 1.
       On or about August 3 , 2020, Defendant Ballmerre negligently and recklessly followed
too closely and struck Plaintiffs' vehicle.
                                                 12.
       On or about August 3rd, 2020, Defendant Ballmerre failed to maintain a proper lookout and
was driving too fast for the conditions.


                                   Complaint for Damages, Page 2 of 8
       Case 1:22-cv-01735-SCJ Document 1-1 Filed 05/02/22 Page 7 of 27




                                                13.
        Defendant Ballmerre's Freightliner collided with the Plaintiffs' vehicle, resulting in
serious, possibly permanent injuries to Plaintiffs.
                                                14.
        Emergency services were called and Defendant Ballmerre was found at fault for following
too closely, in violation of 0.C.G.A. § 40-6-49.
                                                15.
        At all times pertinent to the subject matter of this Complaint,Plaintiffs were driving safely
and in accordance with all applicable laws and rules of the road.
                                            COUNT 1
                                   NEGLIGENCE "BALLMERRE"
                                                16.
        Plaintiff re-alleges and incorporates herein the allegations contained in paragraphs 1
through 15 above as if fully restated.
                                                17.
        At all times material hereto, Defendant BALLMERRE was a professional driver with a
commercial driver's license, class E.
                                                18.
        At all times material hereto, Defendant BALLMERRE was driving a commercial motor
vehicle in interstate commerce and was subject not only to Georgia traffic laws and safety
regulations, but also the Federal Motor Carrier Safety Regulations.
                                                19.
        Defendant BALLMERRE owed a duty of exercising due and reasonable care to Plaintiffs,
as well as to the other motorists on the road to avoid all or any collision.
                                                20.
       •Defendant BALLMERRE had a statutory duty under 0.C.G.A § 40-6-49 to not follow too
closely.
                                                21.
        Defendant BALLMERRE breached the above-stated duty owed to Plaintiffs, by operating
his freightliner in an unsafe, reckless, and negligent manner and causing permanent injuries to the
Plaintiffs.


                                   Complaint for Damages,Page 3 of8
       Case 1:22-cv-01735-SCJ Document 1-1 Filed 05/02/22 Page 8 of 27




                                                22.
        Defendant BALLMERRE was negligent in the following manner:
               (a)Failing to exercise due care in the operation of his vehicle upon the roadway;
               (b) Driving his vehicle in reckless disregard for the safety of persons and/or
                property;
               (c)Following too closely;
               (d)Failure to keep a proper lookout; and
               (e)Driving too fast for conditions.
                                                23.
        Defendant BALLMERRE was negligent in following too closely and failed to keep a
proper lookout for others vehicles in the roadway, including the Plaintiffs.
                                               24.
        At all times Defendant BALLMERRE was negligent in causing the collision with
Plaintiffs' vehicle.
                                               25.
        Defendant BALLMERRE negligence is the sole and proximate cause ofPlaintiffs' injuries.
                                               26.
        As a direct and proximate cause of Defendant BALLMERRE reckless and negligent
conduct, as alleged herein above, Plaintiffs have suffered permanent injuries.
                                               27.
        As a result of the injuries sustained in the subject incident caused by the negligence of the
Defendant BALLMERRE, Plaintiff Mario Alcon has incurred medical bills in excess of
$124,075.90 and lost wages in excess of $14,000.00, Plaintiff Geremias Alcon has incurred
medical bills in excess of $134,808.00 and lost wages in excess of $14,600.00, Plaintiff Secilia
Alcon has incurred medical bills in excess of $135,349.40.90 and lost wages in excess of
$12,653.33, Plaintiff Maura Alcon has incurred medical bills in excess of $123,797.18 and lost
wages in excess of $7,200.00, Plaintiff Marleny Alcon has incurred medical bills in excess of
$58,319.31, and Plaintiff Hugo Alcon has incurred medical bills in excess of$118,697.82 and lost
wages in excess of $6,901.67.
                                               28.
       By reason of the foregoing, Plaintiffs are entitled to recover compensatory and special


                                  Complaint for Damages, Page 4 of8
       Case 1:22-cv-01735-SCJ Document 1-1 Filed 05/02/22 Page 9 of 27




damages from BALLMERRE, ASPLUDH and Greenwich Insurance Company, for medical
expenses, present and future, pain and suffering, present and future and for the loss of enjoyment
of life, present and future, in such amount as shall be shown by the evidence and determined by
the jury in their enlightened conscience.
                                              COUNT 2
                           NEGLIGENCE PER SE "BALLMERRE"
                                               29.
        Plaintiff re-alleges and incorporates herein the allegations contained in paragraphs 1
through 28 above as if fully restated.
                                                30.
        Violation of Federal Motor Carrier Safety Regulations ("FMCSR"); including, without
limitations; failing to operate his freightliner in a safe and reasonable manner and other FMCSR's
violations of which constitutes negligence per se; and otherwise failing to act reasonably and
prudently as a professional commercial driver should under the circumstances.
                                               31.
        Defendant BALLMERRE was negligent per se in the operation of the freightliner as he
was driving in at least the following ways:
              (a)Following too closely; 0.C.G.A. § 40-6-49;
              (b)Failing to exercise due care in the operation of her vehicle upon the roadway,
               in violation of0.C.G.A. § 40-6-241;
              (c) Driving his vehicle in reckless disregard for the safety of persons and/or
               property in violation of 0.C.G.A. § 40-6-390; and
              (d) Driving too fast for conditions in violation of0.C.G.A. § 40-6-180.
                                               32.
        Defendant BALLMERRE'S negligence is the sole and proximate cause of Plaintiffs'
injuries.
                                              COUNT 3
                                    IMPUTED LIABILITY
                                                 33. ,
       Plaintiffs re-allege and incorporate herein the allegations contained in paragraphs 1 through
32 above as if fully restated.


                                  Complaint for Damages,Page 5 of8
      Case 1:22-cv-01735-SCJ Document 1-1 Filed 05/02/22 Page 10 of 27




                                                34.
        At all times pertinent to the subject matter of this Complaint, Defendant BALLMERRE
was employed by Defendant ASPLUDH and/or acting as an agent for ASPLUDH.
                                                35.
        At all times pertinent to the subject matter of this Complaint, Defendant BALLMERRE
was employed by Defendant ASPLUDH and/or acting as an agent for Defendant ASPLUDH while
operating the freightliner.
                                                36.
        Defendant ASPLUDH is an intrastate and/or interstate motor carriers.
                                                37.
        Pursuant to federal and state laws, Defendant ASPLUDH is vicariously liable and
responsible for the actions of Defendant BALLMERRE in regard to the collision described in this
Complaint.
                                            COUNT 4
         NEGLIGENT ENTRUSTMENT,HIRING,TRAINING & SUPERVISION
                                                38.
       Plaintiffs re-allege and incorporate herein the allegations contained in paragraphs 1 through
37 above as if fully restated.    •
                                                39.
        Defendant ASPLUDH was negligent in hiring Defendant BALLMERRE.
                                               40.
        Defendant ASPLUDH was negligent in entrusting Defendant BALLMERRE to drive the
freightliner.
                                               41.
        The freightliner is a dangerous instrumentality consistent with the law of negligent
entrustment.
                                               42.
       Defendant ASPLUDH was negligent in failing to properly train Defendant BALLMERRE.
                                               43.
       Defendant ASPLUDH was negligent in failing to properly supervise Defendant
BALLMERRE.


                                 Complaint for Damages, Page 6 of8
      Case 1:22-cv-01735-SCJ Document 1-1 Filed 05/02/22 Page 11 of 27




                                                 44.
        Defendant ASPLUDH'S negligence in hiring Defendant BALLMERRE was the sole and
proximate cause of the collision, and Plaintiffs' resulting injuries.
                                                 45.
        Defendant ASPLUDH'S negligence in entrusting Defendant BALLMERRE with driving
a dangerous instrumentality was the sole and proximate cause of the collision, and Plaintiffs'
resulting injuries.
                                                 46.
       Defendant ASPLUDH'S negligence in failing to train Defendant BALLMERRE was the
sole and proximate cause of the collision, and Plaintiffs' resulting injuries.
                                                 47.
       Defendant ASPLUDH'S negligence in failing to supervise Defendant BALLMERRE
properly was the sole and proximate cause of the collision, and Plaintiffs' resulting injuries.
                                           COUNT 5
 DIRECT ACTION AGAINST DEFENDANT GREENWICH INSURANCE COMPANY
                                                48.
       Plaintiff re-alleges and incorporates herein the allegations contained in paragraphs 1
through 47 above as if fully restated
                                                49.
       Defendant GREENWICH INSURANCE COMPANY provided liability insurance on the
FREEGHTUNER that was involved in the subject motor vehicle collision.
                                                50.
       Defendant GREENWICH INSURANCE COMPANY agreed to provide insurance
coverage to Defendant BALLMERRE and ASPLUDH in consideration for the payment of
insurance premiums.
                                                51.
       Defendant GREENWICH INSURANCE COMPANY was transacting business in the State
of Georgia and in Gwinnett County, Georgia on the date of the subject incident, and at all material'
times hereto, and is subject to the venue of the Court pursuant to 0.C.G.A. § 33-4-1.
                                                52.
       Plaintiffs, as members of the public, were injured due to a common carrier's negligence,


                                  Complaint for Damages, Page 7 of 8
      Case 1:22-cv-01735-SCJ Document 1-1 Filed 05/02/22 Page 12 of 27




and is a third-party beneficiary to that agreement. Pursuant to 0.C.G.A. § 40-1-112, Defendant
GREENWICH INSURANCE COMPANY is subject to this Direct Action.
                                            COUNT 6
                                     PUNITIVE DAMAGES
                                              53.
       Plaintiff re-allege and incorporate herein the allegations contained in paragraphs 1 through
52 above as if fully restated.
                                              54.
       Defendants' conduct was reckless, willful and wanton, and demonstrates a conscious
indifference to the consequences of their actions and entitles Plaintiffs to an award of punitive
damages.
        WHEREFORE,Plaintiffs pray that they have a trial by jury on all issues and judgment
against Defendants as follows:
       a. That Plaintiffs recover the full and reasonable amount of medical expenses in an
           amount to be proven at trial;
        b. That Plaintiffs recover the full and reasonable amount of physical and mental pain and
           suffering in an amount to be determined by the enlightened conscience of a jury;
       c. That Plaintiffs recover the full and reasonable amount for the loss of Plaintiffs'
           enjoyment of life in an amount to be determined by the enlightened conscience of a
           iurY;
       d. That Plaintiffs recovers punitive damages in an amount sufficient to punish and deter
           Defendants from their reprehensible conduct that caused the subject collision and
           injuries; and
       e. That Plaintiffs recover such other and further relief as is just and proper.

This, the 29th day of March, 2022.

Respectfully Submitted,
CUADRA & PATEL,LLC

/s/ Chirag Patel

Chirag Patel, esq.
Georgia Bar No. 763713
Norman Cuadra, esq.
Georgia Bar No. 200510
296 S. Culver Street,
Lawrenceville, Georgia 30046
Phone:(404)373-6336
chirag@cuadrapatel.corn


                                 Complaint for Damages,Page 8 of8
      Case 1:22-cv-01735-SCJ Document 1-1 Filed 05/02/22 Page 13 of 27                 E-FILED IN OFFICE - RJ
                                                                                     CLERK OF STATE COURT
                                                                                 GWINNETT COUNTY, GEORGIA
                                                                                         22-C-01817-S5
                                                                                      3/29/2022 4:43 PM
                                                                                    TIANA P. GARNER,CLERK

                    IN THE STATE COURT OF GWINNETT COUNTY
                               STATE OF GEORGIA

 MARIO ALCON,GEREMIAS ALCON,SECILIA
     ALCON,MAURA ALCON,MARLENY
     ALCON & HUGO ALCON,
          Plaintiffs,                                           CIVIL ACTION
                                                                FILE NO.
               V.
                                                                    22-C-01817-S5
 ASPLUNDH TREE EXPERT,LLC,
      AND
 SEAN DOUGLAS BALLMERRE,
      AND
 GREENWICH INSURANCE COMPANY,
      Defendants.


                                DEMAND FOR JURY TRIAL

        COMES NOW the Plaintiffs, by and through their undersigned Counsel, and hereby files
 this DEMAND FOR JURY TRIAL in the above- mentioned civil action

       This 29TH day of March, 2022.

                                                 Respectfully Submitted, •
                                                 CUADRA AND PA TEL,LLC

                                                 /s/ Chirag Patel

                                                 Norman Cuadra, Esq.
                                                 Georgia Bar No. 200510
 CUADRA AND PA TEL, LLC                          Chirag Patel, Esq.
 296 S. Culver Street                            Georgia Bar No. 763713
 Lawrenceville, Georgia 30046
(404) 373-6336(Phone)
(770)237-3486(Fax)
        Case 1:22-cv-01735-SCJ Document 1-1 Filed 05/02/22 Page 14 of 27




                      IN THE STATE COURT OF GWINNETT COUNTY
                                 STATE OF GEORGIA

 MARIO ALCON, GEREMIAS ALCON,
 SECILIA ALCON, MAURA ALCON,
 MARLENY ALCON, and HUGO ALCON,                                CIVIL ACTION FILE
                                                               NO. 22-C-01817-S5
                Plaintiffs,
 v.

 ASPLUNDH TREE EXPERT, LLC, SEAN
 DOUGLAS BALLMERRE, and GREENWICH
 INSURANCE COMPANY,

                Defendants.


  DEFENDANT ASPLUNDH TREE EXPERT, LLC AND GREENWICH INSURANCE
                COMPANY ANSWER AND DEFENSES TO
               PLAINTIFFS’ COMPLAINT FOR DAMAGES

       COME NOW defendants, Asplundh Tree Expert, LLC (“Asplundh”) and Greenwich

Insurance Company (“Greenwich,” and collectively referred to as “defendants”), by and through

undersigned counsels, and answer plaintiffs’ complaint for damages, showing the Court as follows:

                                       FIRST DEFENSE

       Plaintiffs’ complaint for damages fails to state a claim upon which relief can be granted.

                                     SECOND DEFENSE

       No act or omission of these defendants caused or contributed to any injuries or damages

allegedly incurred by plaintiffs; therefore, plaintiffs have no right of recovery against these

defendants.

                                       THIRD DEFENSE

       These defendants did not owe any legal duty of care to plaintiffs.

                                     FOURTH DEFENSE

       These defendants did not breach any duties owed to plaintiffs and, therefore, plaintiffs have



                                           Page 1 of 14
        Case 1:22-cv-01735-SCJ Document 1-1 Filed 05/02/22 Page 15 of 27




no right of recovery against the defendants.

                                         FIFTH DEFENSE

        No action or omission on the part of these defendants proximately caused or contributed to

the incident at issue or the injuries or damages allegedly suffered by plaintiffs; therefore, plaintiffs

have no right of recovery against these defendants.

                                         SIXTH DEFENSE

        To the extent as may be shown by the evidence through discovery, the defendants assert

the affirmative defenses of assumption of the risk, contributory/comparative negligence, failure of

plaintiff to exercise ordinary care for her own safety, failure to avoid consequences, failure to

mitigate damages, accord and satisfaction, arbitration and award, discharge in bankruptcy,

estoppel, fraud, illegality, injury by fellow servant, laches, last clear chance, license, payment,

release, res judicata, statute of limitations, sudden emergency, and waiver.

                                       SEVENTH DEFENSE

        Defendants plead all affirmative defenses which they may be required to plead pursuant to

and as provided by O.C.G.A. §9-11-8(c) and O.C.G.A. §9-11-12 (b) and (h) and incorporate all

defensive matters set forth in those statutory provisions herein as if affirmatively set forth and pled.

Defendants specifically reserve the right to amend defensive pleadings and set forth any other

defenses as investigation and discovery in the above-captioned matter continues.

                                        EIGHTH DEFENSE

        Venue is improper in this Court and, as a result thereof, plaintiffs’ complaint must be

dismissed.

                                         NINTH DEFENSE

        Plaintiffs have failed to state facts sufficient to entitle them to an award of compensatory




                                             Page 2 of 14
        Case 1:22-cv-01735-SCJ Document 1-1 Filed 05/02/22 Page 16 of 27




damages, punitive damages, or attorneys’ fees and expenses from these defendants.

                                      TENTH DEFENSE

       Defendants reserve the right to assert additional affirmative defenses as same may become

known during discovery.

                                    ELEVENTH DEFENSE

       In response to the numbered paragraphs of plaintiffs’ complaint for damages, defendants

answer as follows:

                      RESPONSE TO ALLEGATIONS REGARDING
                          “PARTIES AND JURISDICTION”

                                                 1.

       Defendants do not possess sufficient information to form a belief as to the truth of the

allegations contained in paragraph 1 of plaintiffs’ complaint for damages and, therefore, in an

abundance of caution, all allegations in said paragraph are denied.

                                                 2.

       Defendants only admit the portion of paragraph 2 of plaintiffs’ complaint for damages that

Asplundh is a foreign corporation existing under the laws of Pennsylvania, with its principal place

of business in Pennsylvania, and may be served in accordance with Georgia law. The remaining

allegations in paragraph 2 of plaintiffs’ complaint for damages state a legal conclusion and

therefore no response to same is required of the defendants. To the extent a response is required,

the allegations contained in paragraph 2 of plaintiffs’ complaint for damages are denied.

                                                 3.

       Defendants admit the allegations contained in paragraph 3 of plaintiffs’ complaint for

damages.

                                                 4.



                                           Page 3 of 14
        Case 1:22-cv-01735-SCJ Document 1-1 Filed 05/02/22 Page 17 of 27




       Defendants only admit the portion of paragraph 4 of plaintiffs’ complaint for damages that

Greenwich is a foreign corporation existing under the laws of Delaware, with its principal place of

business in Connecticut, and may be served in accordance with Georgia law. The remaining

allegations in paragraph 4 of plaintiffs’ complaint for damages state a legal conclusion and

therefore no response to same is required of the defendants. To the extent a response is required,

the allegations contained in paragraph 4 of plaintiffs’ complaint for damages are denied.

                                                 5.

       Defendants deny the allegations contained in paragraph 5 of plaintiffs’ complaint for

damages.

                                                 6.

       The allegations contained in paragraph 6 of plaintiffs’ complaint for damages state a legal

conclusion and therefore no response to same is required of the defendants. To the extent a

response is required, the allegations contained in paragraph 6 of plaintiffs’ complaint for damages

are denied.

                      RESPONSE TO ALLEGATIONS REGARDING
                                “BACKGROUND”

                                                 7.

       Defendants admit the allegations contained in paragraph 7 of plaintiffs’ complaint for

damages.

                                                 8.

       Defendants admit the allegations contained in paragraph 8 of plaintiffs’ complaint for

damages.

                                                 9.

       Defendants admit the allegations contained in paragraph 9 of plaintiffs’ complaint for



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damages.

                                                 10.

       Defendants deny the allegations contained in paragraph 10 of plaintiffs’ complaint for

damages.

                                                 11.

       Defendants deny the allegations contained in paragraph 11 of plaintiffs’ complaint for

damages.

                                                 12.

       Defendants do not possess sufficient information to form a belief as to the truth of the

allegations contained in paragraph 12 of plaintiffs’ complaint for damages and, therefore, in an

abundance of caution, all allegations in said paragraph are denied.



                                                 13.

       Defendants deny the allegations contained in paragraph 13 of plaintiffs’ complaint for

damages.

                                                 14.

       Defendants do not possess sufficient information to form a belief as to the truth of the

allegations contained in paragraph 14 of plaintiffs’ complaint for damages and, therefore, in an

abundance of caution, all allegations in said paragraph are denied.

                                                 15.

       Defendants do not possess sufficient information to form a belief as to the truth of the

allegations contained in paragraph 15 of plaintiffs’ complaint for damages and, therefore, in an

abundance of caution, all allegations in said paragraph are denied.




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                        RESPONSE TO ALLEGATIONS REGARDING
                         “COUNT 1 NEGLIGENCE ‘BALLMERRE’”

                                                  16.

          Defendants incorporate their responses to paragraphs 1–15 by reference as if stated full

herein.

                                                  17.

          Defendants admit the allegations contained in paragraph 17 of plaintiffs’ complaint for

damages.

                                                  18.

          Defendants deny the allegations in paragraph 18 alleging the Ballmerre was operating “a

commercial motor vehicle in interstate commerce” insofar as that language is related to Georgia

or federal direct action statutes. At this time, Defendants deny that Greenwich is properly named

as a direct action defendant in this lawsuit. All other allegations in paragraph 18 are admitted.

                                                  19.

          In response to the allegations contained in paragraph 19 of plaintiffs’ complaint of

damages, defendants admit only that Ballmerre’s duties, if any, are defined by Georgia and federal

law. To the extent the allegations contained in paragraph 19 of plaintiffs’ complaint for damages

are inconsistent with Georgia or federal law, they are denied. Otherwise, defendants deny the

allegations contained in paragraph 19 of plaintiffs’ complaint for damages.

                                                  20.

          In response to the allegations contained in paragraph 20 of plaintiffs’ complaint of

damages, defendants admit only that Ballmerre’s duties, if any, are defined by Georgia law. To

the extent the allegations contained in paragraph 20 of plaintiffs’ complaint for damages are

inconsistent with Georgia law, they are denied. Otherwise, defendants deny the allegations



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contained in paragraph 20 of plaintiffs’ complaint for damages.

                                                 21.

       Defendants do not possess sufficient information to form a belief as to the truth of the

allegations contained in paragraph 21 of plaintiffs’ complaint for damages and, therefore, in an

abundance of caution, all allegations in said paragraph are denied.

                                                 22.

       Defendants do not possess sufficient information to form a belief as to the truth of the

allegations contained in paragraph 21, including subparts (a)–(e), of plaintiffs’ complaint for

damages and, therefore, in an abundance of caution, all allegations in said paragraph are denied.

                                                 23.

       Defendants do not possess sufficient information to form a belief as to the truth of the

allegations contained in paragraph 23 of plaintiffs’ complaint for damages and, therefore, in an

abundance of caution, all allegations in said paragraph are denied.

                                                 24.

       Defendants do not possess sufficient information to form a belief as to the truth of the

allegations contained in paragraph 24 of plaintiffs’ complaint for damages and, therefore, in an

abundance of caution, all allegations in said paragraph are denied.

                                                 25.

       Defendants do not possess sufficient information to form a belief as to the truth of the

allegations contained in paragraph 25 of plaintiffs’ complaint for damages and, therefore, in an

abundance of caution, all allegations in said paragraph are denied.

                                                 26.

       Defendants deny the allegations contained in paragraph 26 of plaintiffs’ complaint for




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damages.

                                                  27.

          Defendants deny the allegations contained in paragraph 27 of plaintiffs’ complaint for

damages.

                                                  28.

          Defendants deny the allegations contained in paragraph 28 of plaintiffs’ complaint for

damages.

                       RESPONSE TO ALLEGATIONS REGARDING
                     “COUNT 2 NEGLIGENCE PER SE ‘BALLMERRE’”

                                                  29.

          Defendants incorporate their responses to paragraphs 1–28 by reference as if stated full

herein.

                                                  30.

          The statement contained in paragraph 30 of plaintiffs’ complaint for damages does not put

forth allegations for defendants to respond to. To the extent a response is required, the allegations

contained in paragraph 30 of plaintiffs’ complaint for damages are denied.

                                                  31.

          Defendants do not possess sufficient information to form a belief as to the truth of the

allegations contained in paragraph 31, including subparts (a)–(d), of plaintiffs’ complaint for

damages and, therefore, in an abundance of caution, all allegations in said paragraph are denied.

                                                  32.

          Defendants do not possess sufficient information to form a belief as to the truth of the

allegations contained in paragraph 32 of plaintiffs’ complaint for damages and, therefore, in an

abundance of caution, all allegations in said paragraph are denied.



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                         RESPONSE TO ALLEGATIONS REGARDING
                             “COUNT 3 IMPUTED LIABILITY”

                                                    33.

          Defendants incorporate their responses to paragraphs 1–32 by reference as if stated full

herein.

                                                    34.

          Defendants admit the allegations contained in paragraph 34 of plaintiffs’ complaint for

damages.

                                                    35.

          Defendants admit the allegations contained in paragraph 35 of plaintiffs’ complaint for

damages.

                                                    36.

          Defendants admit the allegations contained in paragraph 36 of plaintiffs’ complaint for

damages.

                                                    37.

          The allegations contained in paragraph 37 of plaintiffs’ complaint for damages state a legal

conclusion and therefore no response to same is required of the defendants. To the extent a

response is required, the allegations contained in paragraph 37 of plaintiffs’ complaint for damages

are denied.

               RESPONSE TO ALLEGATIONS REGARDING
 “COUNT 4 NEGLIGENT ENTRUSTMENT, HIRING, TRAINING & SUPERVISION”

                                                    38.

          Defendants incorporate their responses to paragraphs 1–37 by reference as if stated full

herein.




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                                                  39.

       Defendants deny the allegations contained in paragraph 39 of plaintiffs’ complaint for

damages.

                                                  40.

       Defendants deny the allegations contained in paragraph 40 of plaintiffs’ complaint for

damages.

                                                  41.

       The allegations contained in paragraph 41 of plaintiffs’ complaint for damages state a legal

conclusion and therefore no response to same is required of the defendants. To the extent a

response is required, the allegations contained in paragraph 41 of plaintiffs’ complaint for damages

are denied.

                                                  42.

       Defendants deny the allegations contained in paragraph 42 of plaintiffs’ complaint for

damages.

                                                  43.

       Defendants deny the allegations contained in paragraph 43 of plaintiffs’ complaint for

damages.

                                                  44.

       Defendants deny the allegations contained in paragraph 44 of plaintiffs’ complaint for

damages.

                                                  45.

       Defendants deny the allegations contained in paragraph 45 of plaintiffs’ complaint for

damages.




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                                                    46.

          Defendants deny the allegations contained in paragraph 46 of plaintiffs’ complaint for

damages.

                                                    47.

          Defendants deny the allegations contained in paragraph 47 of plaintiffs’ complaint for

damages.

                       RESPONSE TO ALLEGATIONS REGARDING
                         “COUNT 5 DIRECT ACTION AGAINST
                    DEFENDANT GREENWICH INSURANCE COMPANY”

                                                    48.

          Defendants incorporate their responses to paragraphs 1–47 by reference as if stated full

herein.

                                                    49.

          Defendants admit the allegations contained in paragraph 49 of plaintiffs’ complaint for

damages.

                                                    50.

          Defendants admit that Greenwich issued a policy of liability insurance to Asplundh which

is applicable to the claims and allegations in this lawsuit, subject to the terms, conditions, and

limitations set forth in the policy.

                                                    51.

          Defendants deny the allegations contained in paragraph 51 of plaintiffs’ complaint for

damages.

                                                    52.

          The allegations contained in paragraph 52 of plaintiffs’ complaint for damages state a legal




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conclusion and therefore no response to same is required of the defendants. To the extent a

response is required, the allegations contained in paragraph 52 of plaintiffs’ complaint for damages

are denied. Further, Defendants deny that the Freightliner involved in this action qualifies as

common carrier or that it otherwise serves as a sufficient basis for a direct action against Greenwich

in this lawsuit. Defendants expressly deny that Greenwich is subject to direct action in this lawsuit.

  RESPONSE TO ALLEGATIONS REGARDING “COUNT 6 PUNITIVE DAMAGES”

                                                   53.

          Defendants incorporate their responses to paragraphs 1–52 by reference as if stated full

herein.

                                                   54.

          Defendants deny the allegations contained in paragraph 54 of plaintiffs’ complaint for

damages.

                                                   55.

          In response to the paragraph beginning with “WHEREFORE” of plaintiffs’ complaint for

damages, including subparts (a)–(e) thereof, defendants deny that they are liable to plaintiffs and

that plaintiffs are entitled to any relief from defendants under any theory at law or in equity.

                                                   56.

          Each and every allegation contained in plaintiffs’ complaint for damages not specifically

addressed above is hereby expressly denied.

                               DEMAND FOR JURY OF TWELVE

Defendants hereby demand that the above-captioned matter be tried by a jury of twelve.

                 This 2nd day of May, 2022.
                                                   FREEMAN MATHIS & GARY, LLP

                                                   /s/ Matthew F. Boyer



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                                CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically submitted the foregoing DEFENDANT

ASPLUNDH TREE EXPERT, LLC AND GREENWICH INSURANCE COMPANY ANSWER

AND DEFENSES TO PLAINTIFFS’ COMPLAINT FOR DAMAGES to the Clerk of Court using

the Odyssey eFileGA system which will automatically send electronic mail notification of such

filing and service to the following counsel of record:


                                         Chirag Patel
                                        Norman Cuadra
                                    CUADRA AND PATEL, LLC
                                      296 S. Culver Street
                                    Lawrenceville, GA 30046

       This 2nd day of May, 2022.
                                                  FREEMAN MATHIS & GARY, LLP

                                                  /s/ Matthew F. Boyer
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